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STATE BAR OF NEVADA



                             CERTIFICATE OF STANDING


Issue Date:                2/21/2024
                                                                                                   3100 W. Charleston Blvd.
                                                                                                   Suite 100
Attorney Name:             David Zeltner Chesnoff                                                  Las Vegas, NV 89102
                                                                                                   phone 702.382.2200
Neveda Bar Number:         2292                                                                    toll free 800.254.2797
                                                                                                   fax 702.382.2075
License Type:              ATTORNEY                                                                9456 Double R Blvd., Ste. B
                                                                                                   Reno, NV 89521-5977
License Status:            Active                                                                  phone 775.329.4100
                                                                                                   fax 775.329.0522
Admit/Certification Date: 9/29/1981
                                                                                                   www.nvbar.org


To Whom It May Concern:

 The State Bar of Nevada records indicate that the attorney named above was admitted or
certified to practice in the State of Nevada and is in good standing as of the issue date.

 If the attorney’s License Type is NMATTORNEY (non-member attorney), they were certified to
practice pursuant to Nevada Supreme Court Rule 49.1 ‘Limited practice certification for certain
attorneys’. Refer to License Status for the subsection.

This certification expires 30 days from the issue date unless sooner revoked or rendered invalid
by operation of rule or law.

Questions may be directed to memberservices@nvbar.org.




Mary Jorgensen
Member Services Director

No.2024 -10538072
verify by email at memberservices@nvbar.org
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                 STATE BAR OF TEXAS


 Office of the Chief Disciplinary Counsel

 February 21, 2024



 Re: Mr. David Z. Chesnoff, State Bar Number 04186700


 To Whom It May Concern:

 This is to certify that Mr. David Z. Chesnoff was licensed to practice law in Texas on November 12,
 1979, and is an active member in good standing with the State Bar of Texas. "Good standing" means
 that the attorney is current on payment of Bar dues; and is not presently under either administrative
 or disciplinary suspension from the practice of law. However, because the attorney has chosen an
 exemption from Minimum Continuing Legal Education, they are not eligible to practice in the State
 of Texas.


 This certification expires 30 days from the date, unless sooner revoked or rendered invalid by
 operation of rule or law.


 Sincerely,




 Seana Willing
 Chief Disciplinary Counsel
 SW/web




    P.O. BOX 12487, CAPITOL STATION, AUSTIN, TEXAS 78711-2487, 512.427.1350; FAX: 512.427.4167
